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 5 Attorney for:
   Rigoberto Nunez
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                             CASE NO. 2:17CR-00149 TLN
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                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           FINDINGS AND ORDER TO CONTINUE CASE
12                                                         TO 7/25/19 AT 9:30 A.M.
     Rigoberto Nunez,
13   Oscar Andrade,
     Oscar Rodriguez,
14                                    Defendants

15
                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, James Conolly, and
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     Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Andrade
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     represented by Attorney Dina Santos; Defendant Oscar Rodriguez, represented by David Fischer, hereby
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     stipulate as follows:
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            1.      By previous order, this matter was set for status on September 19, 2018.
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            2.      By this stipulation, defendants now move to continue the status conference until July 25,
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     2019, and to exclude time between February 19, 2019, and July 25, 2019, under Local Code T4.
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     Plaintiff does not oppose this request. The Defense continues to conduct investigation, review discovery
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     and negotiate with the Government.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time to continue to conduct
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            investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 61 Filed 02/19/19 Page 2 of 3


 1          grant the above-requested continuance would deny them the reasonable time necessary for

 2          effective preparation, taking into account the exercise of due diligence. The government does

 3          not object to the continuance.

 4                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 5          case as requested outweigh the interest of the public and the defendant in a trial within the

 6          original date prescribed by the Speedy Trial Act.

 7                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8          et seq., within which trial must commence, the time period of February 19, 2019, and July 25,

 9          2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10          T4] for Mr. Nunez and Mr. Andrade, because it results form a continuance granted by the Court

11          at defendants request on the basis of the Court’s finding that the ends of justice served by taking

12          such action outweigh the best interest of the public and the defendants in a speedy trial.

13                  d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161,

14          et seq., within which trial must commence, the time period of February 19, 2019, and July 25,

15          2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 (h)(3)(A) & (B) [Local Code

16          M]: unavailability of a defendant for Mr. Rodriguez.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: February 19, 2019                                 MCGREGOR SCOTT
                                                            United States Attorney
22

23                                                          /s/ James Conolly
                                                            JAMES CONOLLY
24                                                          Assistant United States Attorney

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26 Dated: February 19, 2019                                /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
27                                                         Attorney for Rigoberto Nunez
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     Dated: February 19, 2019                              /s/ Dina L. Santos
      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
              Case 2:17-cr-00149-TLN Document 61 Filed 02/19/19 Page 3 of 3


 1                                                          DINA L. SANTOS, ESQ.
                                                            Attorney for Oscar Andrade
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 5 Dated: February 19, 2019                                 /s/ David Fischer
                                                            DAVID FISCHER, ESQ.
 6                                                          Attorney for Oscar Rodriguez
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 9                                                        ORDER

10         IT IS SO FOUND AND ORDERED this 19 day of February, 2019

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                                                                HON. TROY L. NUNLEY
16                                                              UNITED STATES DISTRICT JUDGE

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     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
